           Case 08-13023-RGM               Doc 39       Filed 08/17/10 Entered 08/17/10 18:11:32                     Desc Main
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                               UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF VIRGINIA
                                                        ALEXANDRIA DIVISION

In re: TAMMY L. WYATT                                                                                    Case No.: 08-13023-RGM

                Debtor(s)

                   CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Thomas P. Gorman, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 05/28/2008.
2) The plan was confirmed on 08/11/2008.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was completed on 11/19/2009.
6) Number of months from filing or conversion to last payment: 18.
7) Number of months case was pending: 27.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 10,766.50.
10) Amount of unsecured claims discharged without full payment: 10,974.00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:          $40,650.00
       Less amount refunded to debtor:                     $1,265.34
 NET RECEIPTS:                                                                 $39,384.66

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                 $1,835.00
       Court Costs:                                                                $.00
       Trustee Expenses and Compensation:                                     $3,374.97
       Other:                                                                      $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $5,209.97

 Attorney fees paid and disclosed by debtor:              $1,165.00




 Scheduled Creditors:
Creditor                                                     Claim             Claim               Claim        Principal           Interest
Name                                        Class            Scheduled         Asserted            Allowed      Paid                Paid
CITGO/CBSD                                  Unsecured             894.00             NA                 NA             .00                 .00
CITIBANK/SEARS                              Unsecured                  NA            NA                 NA             .00                 .00
ECAST SETTLEMENT CORPORATION                Unsecured           2,414.00        2,464.74           2,464.74     2,464.74                   .00
ECAST SETTLEMENT CORPORATION                Unsecured           2,175.00        2,175.16           2,175.16     2,175.16                   .00
INTERNAL REVENUE SERVICE                    Priority            5,777.00        3,889.69           3,889.69     3,889.69                   .00
INTERNAL REVENUE SERVICE                    Unsecured                  NA         121.42            121.42         121.42                  .00
LVNV FUNDING LLC.                           Unsecured           6,444.00        6,444.17           6,444.17     6,444.17                   .00
NATIONAL CAPITAL MANAGEMENT                 Unsecured             552.00          552.67            552.67         552.67                  .00
PRA RECEIVABLES MANAGEMENT, LLC Unsecured                       5,534.00        5,582.11           5,582.11     5,582.11                   .00
SUNTRUST BANK                               Secured            11,506.00      11,612.89       11,612.89        11,443.30            1,472.18
VERIZON VIRGINIA                            Unsecured             117.00             NA                 NA             .00                 .00
WASHINGTON MUTUAL/PROVIDIAN                 Unsecured           2,441.00             NA                 NA             .00                 .00


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                                  UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF VIRGINIA
                                                        ALEXANDRIA DIVISION

In re: TAMMY L. WYATT                                                                                    Case No.: 08-13023-RGM

                 Debtor(s)

                     CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                       Claim               Claim          Claim          Principal           Interest
Name                                        Class              Scheduled           Asserted       Allowed        Paid                Paid
WF FIN BAN                                  Unsecured             7,522.00              NA              NA              .00                 .00
WORLD FINANCIAL NETWORK NATIONAL
                               Unsecured                             28.00            29.25          29.25           29.25                  .00

 Summary of Disbursements to Creditors:                                                           Claim          Principal           Interest
                                                                                                  Allowed        Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                 .00             .00                .00
     Mortgage Arrearage:                                                                               .00             .00                .00
     Debt Secured by Vehicle:                                                                    11,612.89       11,443.30           1,472.18
     All Other Secured:                                                                                .00             .00                .00
 TOTAL SECURED:                                                                                  11,612.89       11,443.30           1,472.18

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                       .00             .00                  .00
     Domestic Support Ongoing:                                                                         .00             .00                  .00
     All Other Priority:                                                                          3,889.69        3,889.69                  .00
 TOTAL PRIORITY:                                                                                  3,889.69        3,889.69                  .00

 GENERAL UNSECURED PAYMENTS:                                                                     17,369.52       17,369.52                  .00

 Disbursements:
        Expenses of Administration:                                                             $5,209.97
        Disbursements to Creditors:                                                            $34,174.69
 TOTAL DISBURSEMENTS:                                                                                                             $39,384.66

     12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
     foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
     The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                  Date:      08/17/2010                                      By:   /s/Thomas P. Gorman
                                                                                   Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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